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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

ROBERT T. BROCKMAN,                  )
          Plaintiff,                 )
                                     )       Case No. 22-cv-00202-GCH
v.                                   )
                                     )
UNITED STATES OF AMERICA             )
          Defendant.                 )

     UNITED STATES’ RESPONSE TO PLAINTIFF’S THIRD SUPPLEMENTAL
       MEMORANDUM IN SUPPORT OF MOTION FOR DETERMINATION
         ON COMPLAINT FOR JUDICIAL REVIEW AND ABATEMENT
                      OF JEOPARDY ASSESSMENT




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       Defendant, the United States of America, responds to Plaintiff, Robert T.

Brockman’s (“Brockman”) Third Supplemental Memorandum in Support of Motion for

Determination on Complaint for Judicial Review and Abatement of Jeopardy Assessment

and Jeopardy Levy, and states as follows.

                                     INTRODUCTION

       Brockman’s recent supplement attempts to trace for the Court the funds from the

sales of various properties and other transactions. He points to the Wallis Bank account

as the repository for these funds. But this “tracing” not only raises additional questions,

as shown below, it is also clear that there are still millions of dollars, in excess of $15

million, that are unaccounted for and missing. The end result is that Brockman moved,

spent, or dissipated millions of dollars around the time of his indictment in 2020 and the

jeopardy assessment in 2021.

       Brockman’s recent supplement also misstates the standard that applies to jeopardy

assessments. Whether Brockman in fact intended to liquidate his assets and place them

beyond the reach of the IRS, thereby avoiding payment of its taxes, is irrelevant. It is the

appearance of such things that is relevant and controlling. In order to establish that the

making of a jeopardy assessment is reasonable under the circumstances, the IRS need

only establish that Brockman’s circumstances appear to be jeopardizing collection of his

taxes, not whether they definitely do so. In short, the IRS acted reasonably in believing

that Brockman appeared to be designing quickly to place his assets beyond the reach of

the government such that the jeopardy assessments were reasonable.



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                                        ARGUMENT

I.     Since 2020, Brockman was taking steps to jeopardize collection of his tax
       liabilities by transferring, selling, and dissipating assets in excess of $15
       million out of the reach of the IRS.

       At oral argument Brockman argued for the first time that there is no jeopardy

because the IRS seized millions of dollars from the accounts at Wallis bank. Brockman

requested leave to supplement the Court’s record by providing Wallis bank documents.1

Brockman now argues in his Supplemental Memo that the IRS “speculated” there has

been a dissipation of assets. In this supplement, Brockman provides, for the first time, a

declaration of Dorothy Brockman and heavily redacted bank documents in an attempt to

trace two recent real property sales.2 These 11th-hour arguments and submission of

heavily redacted documents neither remove the appearance of jeopardy nor excuse actual

jeopardy from Brockman’s actions.

       Further, Brockman’s supplement does not provide the Court with a complete

picture. For example, Brockman’s assertion that the amounts in the Wallis bank accounts

exceed the sales proceeds from his properties misses the mark. A closer examination

demonstrates that Brockman has dissipated or failed to account for amounts in excess of

$15 million.


1
  August 3, 2022, Hearing Transcript, pg. 36 ln. 23 to pg. 37 ln. 21.
2
  It should be noted that Mrs. Brockman’s declaration is completely devoid of any support for
arguments made by Mr. Brockman’s attorneys that “The transactions were undertaken in the
ordinary course of Mrs. Brockman’s life, allowing her to move closer to her son and daughter-in-
law as she prepared for the death of her husband of 54 years and the birth of her two
grandchildren. See Dkt. No. 10 at 5–7; No. 35 at 9; No. 54 at 11.” Dkt. 66 at 8. In fact, the
citations to prior docket numbers are nothing more than citations to counsel’s prior arguments
and not evidence supporting those arguments.

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           The Brockmans had net wage earnings, stock sales, distributions, state tax refunds,

interest income, and distributions from what appears to be savings bonds that were

available to be deposited during 2020 and 2021.3 In total, it appears that the Brockmans

had over of $62.1 million in domestic funds available to be deposited into their accounts

as follows:4

Chart 1-available deposits
             Type                        Amount            Source
RTB‐ 2020    ORDINARY DIVIDENDS                  $5,064.00 FORM 1099‐DIV
             INTEREST INCOME                    $15,068.00 FORM 1099‐INT
              WAGES (NET OF W/H)            $12,866,218.00 FORM W‐2
              SOCIAL SECURITY                   $28,203.00 FORM SSA‐1099
              GROSS DISTRIBUTION             $1,301,315.00 FORM 1099‐R     National Financial Services
              NET DISTRIBUTION               $1,217,056.00 FORM 1099‐R     Great West Trust
              STOCK SALE PROCEEDS            $1,115,942.00 FORM 1099‐B
              PROCEEDS‐ SALE OF PROPERTY     $3,798,007.00 PROPERTY: 333 WEST FRIAR TUCK
              PROCEEDS‐ SALE OF PROPERTY     $1,202,599.00 PROPERTY: 1731 SUNSET BLVD
RTB‐ 2021    ORDINARY DIVIDENDS                  $1,019.00 FORM 1099‐DIV
             INTEREST INCOME                    $30,212.00 FORM 1099‐INT (WALLIS BANK; ZIONS BANK)
              WAGES (NET OF W/H)            $11,011,484.00 FORM W‐2
              SOCIAL SECURITY                   $53,545.00 FORM SSA‐1099
              STATE REFUND OHIO                 $42,166.00 FORM 1099‐G REFUND
              MSA GROSS DISTRIBUTION            $45,981.00 FORM 1099‐MSA HSA
              QTIP DISTRIBUTION                 $16,579.00 FORM 1099‐Q
              STOCK SALE PROCEEDS               $67,962.00 FORM 1099‐B
              PROCEEDS‐ 1% HARDWICK            $288,858.00 1% HARDWICKE
              SALE OF ELK CREEK LOT 16       $1,450,000.00 PROPERTY: ELK CREEK LOT 16 LLC
DB‐ 2020     INTEREST/DIVIDENDS                $385,723.00 FORM 1099‐INT
             SAVINGS BOND INTEREST             $512,597.00 FORM 1099‐INT
             STOCK SALE PROCEEDS             $8,589,225.00 *FORM 1099‐B
             SAVINGS BOND PROCEEDS          $10,000,000.00 FORM 1099‐B (LONG) BUREAU OF THE FISCAL SERVICE
DB‐ 2021
             INTEREST/DIVIDENDS                  $19,668.00   FORM 1099‐INT/DIV
              GROSS DISTRIBUTION                  $2,508.00   FORM 1099‐R                   Zions Bank
              STATE REFUND OHIO                  $26,029.00   FORM 1099‐G REFUND
             STOCK SALE PROCEEDS                $512,267.00   FORM 1099‐B (LONG)
             SAVINGS BOND INTEREST              $186,305.00   FORM 1099‐INT
             SAVINGS BOND PROCEEDS            $7,000,000.00   FORM 1099‐B (LONG) BUREAU OF THE FISCAL SERVICE
             TREAS. REFUND                      $313,213.00   IRS RECORDS
             TOTAL                           $62,104,813.00


3
 Gov. Ex. 49 Hunt declaration at ¶¶ 15, 16. Based upon data reported by third parties to the
IRS in 2020 and 2021 See also Gov. Ex. 50, Agent Paxton Declaration at ¶¶ 5-7.
4
    Gov. Ex. 50 at ¶ 7. See also Gov. Ex. 32 and 33.
                                                      3
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       On September 9, 2021, the IRS issued levies on all of Brockmans’ known U.S.

bank accounts and financial institutions.5 The levies did not include Wallis Bank because

these accounts were unknown to the IRS at the time. The IRS also levied upon Reynolds

and Reynolds (“R&R”) in September of 2021, and received $1,998,402.54.6 Thus, this

amount from R&R could not have been deposited by the Brockmans into any accounts

and is included in the chart below to avoid double counting. In 2020, the Brockmans

gifted $3.6 million in property to their daughter in-law7 and purchased a property in

Colorado for $3.5 million.8 In January 2021, the Brockmans purchased the property

located at 3465 Overbrook Lane, Houston TX for $6.3 million.9

       For purposes of this response (and viewed in the light most favorable to

Brockman), some of the amounts for these three transactions could have come from

Brockman’s offshore network of entities and nominees, but have been added back into

the chart below to ensure there would be no double counting, as these amounts could

have come from 2020 and 2021 domestic amounts available for deposit.10 Likewise, in

the most conservative vein, this analysis adds back the $169,816.50 amount received

from Regions bank even though it was unknown when these amounts were deposited. In




5
  Dkt. Gov. Ex. 24 RO Sandles Dec.at ¶¶ 33-36. Gov. Ex. 2 at pgs. 33 and 34.
6
  Gov. Ex. 49 at ¶ 11.
7
  Brockmans purchased this property on January 17, 2020. See Gov. Ex. 19.
8
  Gov. Ex. 21 and Gov. Ex. 24 at ¶42 (gift); Gov. Ex. 2 at pg. 39, #11 (Colorado property).
Brockman’s assertion that these are Dorothy Brockman’s separate properties is rebutted by
evidence submitted by the United States. For purposes of this analysis, however, the U.S. is
taking these properties into account in favor of Brockman.
9
  Gov. Ex. 2 at pg. 37.
10
   To be clear, if the funds came from offshore, the missing domestic funds would be larger.
                                                4
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total, the IRS obtained funds from Brockman’s known U.S. accounts, and Wallis Bank as

follows:11

Chart 2‐ funds accounted for:
Amounts secured by levy and other sources
Amount              Source/account                Evidence cite

          $3,000.00   Morgan Stanley              Gov. Ex. 24 at ¶ 35
          $1,912.84   Morgan Stanley
         $45,981.54   HSA                         Gov. Ex. 24 at ¶ 35
         $67,963.07   John hancock                Gov. Ex. 24 at ¶ 35
         $46,462.18   Lord abbot                  Gov. Ex. 24 at ¶ 35
        $518,552.14   B of K                      Gov. Ex. 24 at ¶ 36
         $16,588.05   National Finance Services   Gov. Ex. 24 at ¶ 36
        $251,061.62   B of A                      Gov. Ex. 24 at ¶ 36
        $500,044.98   Jp morgan                   Gov. Ex. 24 at ¶ 36
      $1,000,041.54   Fidelity                    Gov. Ex. 24 at ¶ 36
      $1,998,402.54   Reynolds and Reynolds       Gov. 49 at ¶12
     $27,020,546.54   Wallis                      Gov. 49 at ¶8
        $169,816.50   Regions Bank                Gov. 49 at ¶12
         $3,567,218   Gifted real estate ‐2020    Gov. Ex. 32
        $3,500,000    Colorado r/e purchase       Gov. Ex. 2 at pg. 39
        $6,300,000    3465 Overbook purchase      Gov. Ex. 2 at pg. 37
          $622,500    RB tax pmts. made 2020      Gov. 49 at ¶14
          $372,727    DB tax pmts. made 2020      Gov. 49 at ¶14
          $102,175    DB tax pmts. made 2021      Gov. 49 at ¶14
          $680,000    DB tax pmts. made 2021      Gov. 49 at ¶14
           $92,514    DB tax pmts. made 2021      Gov. 49 at ¶14
     $46,877,507.54   TOTAL

         The domestic funds that appeared to available for deposit in 2020 and 2021 totaled

$62,104,813.12 Yet, the amounts captured by levies, payments to the IRS plus alleged

substitute purchases account for only $46,877,507.54.13 The difference between these



11
   Gov. Ex. 49 at ¶ ¶12, 14. The above chart also includes property purchases and estimated tax
payments. Id. at ¶ ¶12, 13 and 14. See also, Gov. Ex. 24 RO Sandles Dec.at ¶¶ 55-65.
12
   Chart 1, above. Gov. Ex. 50 at ¶ 7.
13
   Chart 2, above. Gov. Ex. 49 at ¶ 12.
                                                   5
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two numbers indicates that there is $15,227,305.46 in unaccounted for, dissipated, or

missing domestic funds. In summary, when considering deposits, property sales, stock

sales, distributions, and the other activities around the time of Brockman’s indictment and

jeopardy assessment, there appear to be domestic funds totaling in excess of $15 million

that are missing.

          As shown in the United States’ original response (Dkt. #21) and the evidence

submitted, Brockman was taking steps at that time to jeopardize collection of his tax

liabilities by transferring, selling, and dissipating assets out of the reach of the IRS in an

amount totaling $18,685,952.14 Yet, at that time, the IRS levies on the Brockmans’

known financial accounts secured only $2,449,695.12.15 Thus, the obvious question was

where was the other $16,236,256.88? Brockman’s latest attempt to answer that question

in order to demonstrate that there was no jeopardy falls short. Even when considering the

levies on Wallis Bank and other transactions, this unexplained difference is still some

$15,227,305.46. Even if Brockman could now explain the location of the still

unaccounted for funds, that does not change the fact that these missing funds and other

transactions mentioned by the government along with Brockman’s continued ability to

send funds offshore to trusts and other entities reasonably appeared to be jeopardizing the

IRS’s ability to collect his tax liabilities.




14
     See Dkt. #21 at pgs. 65-67.
15
     Gov. Ex. 24 at ¶ ¶ 35 and 36. Amount did not disclose the Wallis bank accounts.
                                                 6
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        Likewise, Brockman’s attempt to include $9 million that the IRS obtained from

levies again is incomplete.16 Most of the additional funds received from the jeopardy

levies were from Brockman’s R&R retirement and not deposited into accounts.17 The

additional funds of $8,987,610.69 were considered in the excess of $15 million “missing

funds” analysis.18

        Brockman’s actions demonstrate that it was reasonable to believe he appeared to

be designing quickly to move his assets out of the reach of the government. For example,

the Elk Creek Lot 16 property was sold for $1,450,00019 but only $1,054,921.21 was

transferred to the new Wallis bank account.20 Consequently, $400,000 is missing from

this sale.

        In another example of dissipation, shortly before his indictment, Brockman

transferred approximately $200,000 from his U.S. Amegy Bank account into the names

of trusts in the Cayman Islands.21 Brockman asserts there is no jeopardy because the

funds were ultimately returned to the United States. The funds were not returned to his

U.S. accounts. Instead, they remain in the names of trusts even if the funds have been

moved back to bank accounts for those trusts in the U.S.22 Moreover, a closer look

reveals that only $169,838.58 returned to U.S. accounts held in the name of various




16
   Supplemental Memo, Dkt 66 at pg. 5.
17
   Gov. Ex. 49 at ¶ 12.
18
   Id.
19
   Gov. Ex. 45
20
   Dkt. 55-1, Exhibit A.
21
   Gov. 24 at ¶57 and Dkt. 35-1, Exhibit 5. See also Gov Ex. 1, Paxton Declaration at ¶¶ 58 and 60.
22
   Dkt. 35-1, Plaintiff’s Ex. 5 at pgs. 69, 79 of 93.
                                                   7
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trusts.23 Although the amount of the dissipation may be small ($30,161.42) it still shows

dissipation by Brockman. If nothing else, this demonstrates the ease at which he could

and did move his funds to trusts in an offshore system and control them in that offshore

system well enough to bring them back into the U.S. in the names of different account

holders – such as trusts.

          The jeopardy assessment and levies on the Wallis Bank account do not relieve

jeopardy and in fact highlight the need for the jeopardy levy. In short, the fact that the

IRS was able to capture the Wallis Bank funds shows that the jeopardy levies and

assessment worked exactly how they were designed to work.

II.       The IRS levy on the Wallis Bank account does not negate jeopardy, but it
          shows that the jeopardy assessments and levies were necessary.

          Brockman’s 11th-hour explanation of the location of sales proceeds through

heavily redacted, partial bank documents is disingenuous, raises more concerns, and

actually supports a jeopardy determination. Redacting over 90 percent of the other

transactions in a bank statement does not support Brockman’s argument that he was

hiding nothing and moving nothing out of the reach of the IRS. Brockman alleges that

the Wallis Bank accounts were opened in early 2021 and thereafter they moved other

bank funds and proceeds of property sales or transfers to these Wallis bank accounts.

          The Wallis Bank account and the location of certain assets’ sales proceeds were

still unknown to the IRS at the time of the jeopardy assessment on September 7, 2021.




23
     Dkt. 35-1, Exhibit 5.


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On October 7, 2021, Brockman filed a written protest challenging the jeopardy

assessments. In a footnote, Brockman mentions the sale of the 1% interest in Hardwicke

LLC, but he failed to disclose the whereabouts of any sales proceeds, including the

Hardwicke sales proceeds. The protest also failed to disclose the Wallis Bank accounts.

          Similarly, Brockman’s motion for determination failed to disclose the alleged

transfers or deposits of sales proceeds into the Wallis Bank accounts. On January 31,

2022, the United States filed a response in opposition to Brockman’s motion (Dkt. #21).

The United States’ response specifically pointed out the IRS did “not know what

happened to the proceeds from these property sales, securities sales, and distributions. It

appears funds are being dissipated or transferred to unknown accounts or recipients.”24

          On February 7, 2022, Brockman filed his reply and again failed to disclose any

funds transfers or deposits of sales proceeds into the Wallis Bank accounts. In March

2022, Brockman filed supplemental briefing without disclosing any sales proceeds going

into the Wallis Bank accounts. Importantly, at no time did Brockman (i) offer to pay

over to the IRS any sales proceeds from any of the assets sold, (ii) disclose where any

sales proceeds of suspect asset transfers were being held. The court in Golden ADA, Inc.

v. United States found that a taxpayer selling properties while offering to pay no part of

the proceeds to the government was a factor supporting the jeopardy assessment.25




24
     See Dkt. #21 at pg. 67.
25
     Golden Ada, Inc., v. United States, 934 F.Supp. 341, 345 (N.D. Cal. 1996).

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       On March 29, 2022, the IRS issued levies to Wallis Bank. Around May 22, 2022,

the funds in Wallis Bank were turned over to the IRS after a 45-day holding period.

       Two months later, after the IRS had levied on the Wallis Bank accounts,

Brockman finally disclosed that sales proceeds from his hidden Lot 16 Elk Creek Ranch

property sale were deposited into a Wallis Bank account. Brockman only disclosed the

location of these proceeds after the IRS obtained them from levying on Wallis Bank.

       The IRS levies prevented further dissipation of funds and captured undisclosed

sales proceeds. The IRS jeopardy assessment and levies worked. Brockman seeks to be

rewarded (through having the jeopardy assessment abated) because the IRS collection

actions were successful. He argues that the IRS can make a jeopardy assessment but

cannot successfully take actions to collect or prevent the movement or dissipation of

funds because that action would negate jeopardy. In other words, because the IRS made

a jeopardy assessment and levy and obtained funds through that levy, jeopardy is now

eliminated and the captured funds must be returned so that he can again move them as he

pleases. This is not the law.

       Nowhere in 26 U.S.C. §§ 6861, 6863, 7429 or the Treasury Regulations does it

suggest that the IRS should only collect after a court has determined such assessment is

valid. In fact, the entire structure of these code sections supports the opposite conclusion

- that collection can and should occur immediately after a jeopardy assessment has been

made. Section 6863 only provides a stay of collection upon posting of a bond.

Brockman’s argument essentially nullifies the jeopardy assessment statute and its purpose



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(which is to preserve collection) and penalizes the IRS (by seeking abatement of the

jeopardy assessment) for successfully doing is statutory duty.

         Finally, the Brockmans’ explanation as to the Amegy Bank closure and opening of

the Wallis Bank account raises questions. Dorothy Brockman asserts that the Amegy

Bank accounts were closed at the request of Amegy Bank when the October 2020

indictment became public.26 Brockman’s indictment became public by October 15,

2020.27 However, as reported to the IRS, Brockman’s Amegy Bank account was closed

on May 25, 2021.28 That it took seven months to close the account after Amegy Bank’s

request raises questions regarding the reasons behind, and the timing of, the opening of

the Wallis Bank accounts.

III.     Brockman’s attempts to evade collection are not absolved by the IRS levies.

         Brockman asserts that there is no jeopardy because there was $27 million in

accounts for the IRS to levy upon and therefore he was not designing quickly to defeat

collection.29 Brockman again misstates the law by arguing that the United States must

prove he was actually moving assets or he was actually designing quickly to move assets.

This is not the law.

         The question is whether the taxpayer appears to be manipulating his property in

such a manner as to place them beyond the reach of the government. Whether Brockman

in fact intended to liquidate his assets and place them beyond the reach of the IRS thereby


26
   Dkt. #66-1, Exhibit 1 at ¶3
27
   Dkt. #35-1 Plaintiff’s exhibit 1, Bloomberg New Article.
28
   Gov. 49 at ¶17. Gov. Ex. 51.
29
   Dkt. #66 at pg. 5.
                                               11
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avoiding payment of its taxes is irrelevant. It is the appearance of such things that is

relevant and controlling.30 Thus, in order to establish that the making of a jeopardy

assessment is reasonable under the circumstances, the Service “need only establish that

the taxpayer’s circumstances appear to be jeopardizing collection of a tax—not whether

they definitely do so.”31

       Around his indictment and after the jeopardy assessment, Brockman took several

steps that reasonably appeared to jeopardize collection of his tax liabilities by

transferring, selling, gifting and dissipating assets out of the reach of the IRS as follows:

 Amount      Date                  Description of Asset or property                      Evidentiary Cite
 $1,375,000  May 2021              1731 Sunset Blvd, Houston TX 77005                    Gov. Exs. 17, 18
 $4,100,000  December              335 West Friar Tuck Lane, Houston TX 77024            Gov. Ex. 32
             2020
 $3,567,218 December               3702 Inwood Drive, Houston TX 77019 gifted to         Gov. Ex. 20, 21
             2020                  daughter-in-law
 $ 288,858 March 2021              1% interest in Hardwicke (Bombardier jet)             Gov. Ex. 7
 $15,350,000 May 17, 2021          333 West Friar Tuck Lane, Houston TX, principal       Gov. Exs. 17, 18
                                   residence listed for sale
 $1,301,319     2020               distribution from National Financial Services         Gov. Ex. 33 at
                                   LLC                                                   pg. 30.
 $1,217,056     2020               distribution Great-West Trust Company                 Gov. Ex. 33 at
                                                                                         pg. 30.
 $1,115,942     6/2020             Sales of securities from Morgan Stanley,              Gov. Ex. 33 at
                through            National Financial Services and John Hancock          pgs. 8-21.
                9/2020             accounts
 $9,287,777     10/20/2020         Sales of securities by Dorothy Brockman               Gov. Ex. 32
                through
                12/31/2020
 $1,475,000     10/1/2021          Sale of Lot 16 of Elk Creek Ranch                     Gov. Exs. 44, 45


30
   Golden Ada, Inc., v. United States, 934 F.Supp. 341 (citing Revis v. United States, 558 F.
Supp. 1071, 1077 (D. R.I. 1983)).
31
   Bean v. United States, 618 F. Supp. 652, 658 (N.D. Ga. 1985), Kalkhoven v. United States,
2021 WL 4206767, at *2 (E.D. Cal., 2021).

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          Brockman also transferred control of his offshore empire to another tax haven

locale (Cayman Islands). And shortly before his indictment, he created two new offshore

trusts with foreign accounts and transferred funds from his Amegy bank accounts in the

U.S. to these offshore trusts.

          Brockman wants the Court to ignore his past conduct. But as shown above,

Brockman and his wife (i) sold two Houston properties, (ii) gifted another Houston

property to their daughter-in-law, (iii) listed his Houston residence for sale, (iv) sold his

interest in the jet, (v) sold the hidden Lot 16 Elk Creek Ranch Lot (vi) transferred control

of his offshore empire to another tax haven locale (Cayman Islands), (vii) created two

new offshore trusts with foreign accounts and transferred funds from the U.S. to them,

and (viii) appears to have dissipated or transferred to unknown accounts in excess of $15

million from their U.S. based financial accounts.

           In essence, Brockman seeks an abatement of the jeopardy assessment based on a

misreading argument of the law in that he urges the Court to adopt a new standard that

the IRS must prove Brockman was actually designing quickly, rather than focusing on

whether it appears he was designing quickly. Or as Brockman’s counsel explains in an

example:

          “the only times we see jeopardy assessments made, there's cash at the Border,
          there's a stop and there's cash in the trunk of the car, there's a gambling operation,
          there's illegal source income, and you grab that money. And from the enforcement
          point of view, that makes sense.”32

32
     August 3, 2022, hearing transcript, pg. 31 lns. 7-13.

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       Brockman wants the Court to ignore the sales, gifts, and transfers of property,

because the IRS jeopardy assessment and levies were actually successful in capturing a

significant amount of funds that appeared to be easy to move offshore into Brockman’s

network of offshore nominees and trusts. Brockman essentially argues that, because the

IRS caught him and found his cash, he could not have been designing quickly to move

his funds, and thus there is no jeopardy. In sum, “you caught me” therefore “you have to

let me go.”

       As explained above, Brockman clearly appeared to be dissipating assets at the

time of the jeopardy assessment. Although the IRS was partially successful in preventing

some of that dissipation, this only illustrates that the jeopardy assessment and levies were

necessary and actually worked. Thus, it is clear the IRS acted reasonably in believing

that Brockman appeared to be designing to place his assets beyond the reach of the

government such that the jeopardy assessments were reasonable.

                                     CONCLUSION

       The Court should find that the jeopardy assessments and levies are reasonable, and

the tax assessments are appropriate. The Court should also deny Brockman’s request to

stay IRS collection of the jeopardy assessments.




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                            CERTIFICATE OF SERVICE

       I certify that on August 17, 2022, I filed the foregoing document by electronic

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